Case 2:14-cv-02108-KSH-CLW Document 129 Filed 07/15/21 Page 1 of 4 PageID: 2903




                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                                 _____________

                                     No. 20-1426
                                    _____________

                                   JASON FETTER,
                                          Appellant

                                           v.

      MAERSK LINE LIMITED; 3MC MOBILE & MECHANICAL REPAIR, LLC
                            _______________

                    On Appeal from the United States District Court
                             for the District of New Jersey
                                (D.C. No. 2-14-cv-2108)
                      District Judge: Hon. Katharine S. Hayden
                                   _______________

                                       Argued
                                     May 14, 2021

              Before: McKEE, JORDAN, and FUENTES, Circuit Judges.

                                   _______________

                                     JUDGMENT
                                   _______________

        This cause came to be considered on the record from the United States District
 Court for the District of New Jersey and was argued on May 14, 2020. On consideration
 whereof,
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        It is now hereby ORDERED and ADJUDGED that the Judgment of the District
 Court entered on January 27, 2020 is hereby AFFIRMED. All of the above in
 accordance with the opinion of this Court. Each party to bear its own costs.

                                      ATTESTED:


                                      s/Patricia S. Dodszuweit
                                      Clerk
 DATE: July 15, 2021




                                        2
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                                            OFFICE OF THE CLERK

  PATRICIA S. DODSZUWEIT          UNITED STATES COURT OF APPEALS                    TELEPHONE
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                                              July 15, 2021




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  RE: Jason Fetter v. Maersk Line Ltd, et al
  Case Number: 20-1426
  District Court Case Number: 2-14-cv-02108

                                   ENTRY OF JUDGMENT

 Today, July 15, 2021 the Court entered its judgment in the above-captioned matter pursuant to
 Fed. R. App. P. 36.
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 If you wish to seek review of the Court's decision, you may file a petition for rehearing. The
 procedures for filing a petition for rehearing are set forth in Fed. R. App. P. 35 and 40, 3rd Cir.
 LAR 35 and 40, and summarized below.

 Time for Filing:
 14 days after entry of judgment.
 45 days after entry of judgment in a civil case if the United States is a party.

 Form Limits:
 3900 words if produced by a computer, with a certificate of compliance pursuant to Fed. R. App.
 P. 32(g).
 15 pages if hand or type written.

 Attachments:
 A copy of the panel's opinion and judgment only.
 Certificate of service.
 Certificate of compliance if petition is produced by a computer.
 No other attachments are permitted without first obtaining leave from the Court.

 Unless the petition specifies that the petition seeks only panel rehearing, the petition will be
 construed as requesting both panel and en banc rehearing. Pursuant to Fed. R. App. P. 35(b)(3),
 if separate petitions for panel rehearing and rehearing en banc are submitted, they will be treated
 as a single document and will be subject to the form limits as set forth in Fed. R. App. P.
 35(b)(2). If only panel rehearing is sought, the Court's rules do not provide for the subsequent
 filing of a petition for rehearing en banc in the event that the petition seeking only panel
 rehearing is denied.

 A party who is entitled to costs pursuant to Fed.R.App.P. 39 must file an itemized and verified
 bill of costs within 14 days from the entry of judgment. The bill of costs must be submitted on
 the proper form which is available on the court's website.

 A mandate will be issued at the appropriate time in accordance with the Fed. R. App. P. 41.

 Please consult the Rules of the Supreme Court of the United States regarding the timing and
 requirements for filing a petition for writ of certiorari.

 Very truly yours,


 s/Patricia S. Dodszuweit,
 Clerk


 By: Stephanie
 Case Manager
 267-299-4926
